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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 MICHAEL MASSEL,
        Plaintiff,                              No. 23-cv-01521
 v.


 FORIS DAX, INC. D/B/A CRYPTO.COM,
        Defendant.
 ____________________________________


              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Michael Massel, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

hereby dismisses the instant action. All claims of Plaintiff Michael Massel, individually, are

hereby dismissed with prejudice.

                                           Respectfully Submitted By:


                                           FRADIN LAW
                                           Attorney for Plaintiff
                                           By: /s/ Michael L. Fradin_______________
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